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Attorneys for Plaintiff First Insurance Funding Corp.


                          UNITED STATES DISTRICT COURT
                       DISTRICT OF ALASKA AT ANCHORAGE
FIRST INSURANCE FUNDING CORP.,

                                Plaintiff,

v.                                             Case No. 3:17-cv-00152-SLG

BLACK GOLD EXPRESS, INC.,
                                                    DECLARATION OF COUNSEL
                              Defendant.

       I, Michael B. Baylous, declare as follows:

       1.       I am an attorney with Lane Powell LLC, counsel for Plaintiff First

Insurance Funding Corp., and I have personal knowledge of the contents of this

declaration.

       2.       Attached as Exhibit A are invoices outlining the work performed and fees

accrued by Lane Powell in this matters. A total of 10.7 hours were billed on this matter.

Fees reasonably and necessarily incurred by First Insurance for work totaled $4,012.50.

       3.       My hourly rate was $375, which is reasonable based on rates charged by

other firms in the Anchorage area and is consistent with rates I charge other clients for

similar work.



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         I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge.

         Dated this 28th day of August, 2017.

                                                      s/ Michael B. Baylous
                                                      Michael B. Baylous
130955.0001/7057214.1




Declaration of Counsel
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